      Wm. Thomas Lewis/State Bar No. 116695
  1
      ROBERTSON & LEWIS
  2   Attorneys at Law
      PO Box 1257
  3   Gilroy, CA 95021-1257
      Telephone: (408) 294-3600
  4   Attorneys for Secured Creditor
      HERITAGE BANK OF COMMERCE
  5
  6   William J. Healy, Esq.
      Law Office of William J. Healy
  7   748 Holbrook Pl
      Sunnyvale, CA 94087
  8   Email: wjhealy7@gmail.com
      Phone: XXX-XX-XXXX
  9
      Special Counsel for Secured Creditor
 10   HERITAGE BANK OF COMMERCE

 11
                              UNITED STATES BANKRUPTCY COURT
 12
                               NORTHERN DISTRICT OF CALIFORNIA
 13
                                        (San Francisco Division)
 14
        In re:                             ) Case No. 20-30095-HLB
 15                                        )
        DOUCE FRANCE,                      ) Chapter 11
 16                                        )
                                           )
 17                      Debtor.           )  NOTICE OF HEARING ON
                                           )  HERITAGE BANK OF
 18                                        )
                                           )  COMMERCE’S MOTION FOR
 19                                        )  ATTORNEY’S FEES
                                           )
 20                                        ) Date : April 22, 2021
                                           ) Time: 10:00 a.m.
 21                                        ) Place:
                                           )      United States Bankruptcy Court
 22                                        )      450 Golden Gate Avenue, 16th Fl.
                                           )     Courtroom 19
 23                                        )     San Francisco, CA 94102
                                           ) Judge: Hon. Hannah L. Blumenstiel
 24                                        )
                                           )
 25                                        )
        _________________________________ )
 26
          TO THE HONORABLE HANNAH L. BLUMENSTIEL, UNITED STATES
 27   BANKRUPTCY JUDGE, THE CLERK OF THE COURT, THE OFFICE OF THE
 28                                                1
Case: 20-30095    Doc# 161     Filed: 03/12/21   Entered: 03/12/21 12:40:36   Page 1 of 2
      UNITED STATES TRUSTEE, THE DEBTOR AND COUNSEL OF RECORD, AND
  1   PARTIES IN INTEREST:
  2          PLEASE TAKE NOTICE THAT on April 22, 2021 at 10:00 a.m. in the courtroom of the
  3
      Honorable Hannah L. Blumenstiel, United States Bankruptcy Judge, located at 450 Golden Gate
  4
      Avenue, 16th Fl., Courtroom 19, San Francisco, CA 94102, a hearing will be held on Secured
  5
  6   Creditor and party-in-interest Heritage Bank of Commerce’s Motion For Attorney’s Fees

  7   (“Motion”).
  8
             PLEASE ALSO TAKE NOTICE that this Motion is made pursuant to 11 U.S.C. 105, 501,
  9
      502, 506, and 1111 and Bankruptcy Local Rule 9014-1 (a), (b)(1)(B), and (b)(2).
 10
             PLEASE ALSO TAKE NOTICE that pursuant to Bankruptcy Local Rule 9014-1 (c)(1) any
 11
 12   opposition shall be filed and served on the initiating party at least 14 days prior to the actual

 13   scheduled hearing date and any reply shall be filed and served at least 7 days prior to the actual
 14   scheduled hearing date.
 15
      Dated: March 12, 2021                          ROBERTSON &LEWIS
 16                                                  By: /s/ Wm. Thomas Lewis, Esq.
                                                     Wm. Thomas Lewis, Esq.,
 17                                                  Attorneys for Secured Creditor
 18                                                  HERITAGE BANK OF COMMERCE

 19   Dated: March 12, 2020                           LAW OFFICE OF WILLIAM J. HEALY
                                                     /s/ William J. Healy, Esq.
 20                                                  William J. Healy
                                                      Special Counsel for Secured Creditor
 21                                                   HERITAGE BANK OF COMMERCE

 22
 23
 24
 25
 26
 27
 28                                                       2
Case: 20-30095      Doc# 161       Filed: 03/12/21     Entered: 03/12/21 12:40:36         Page 2 of 2
